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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MEAGAN YOUNG,                         :      No.: 3:07-CV-00854
                                      :
          Plaintiff,                  :      (Judge Brann)
                                      :
     v.                               :
                                      :
BRUCE H. SMITH, JR.,                  :
                                      :
          Defendant.                  :


                                  ORDER

     AND NOW, this 6th day of September 2017, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.   The Motion for Attorney’s Fees, ECF No. 635, submitted by Cynthia

          L. Pollick, Esquire, is DENIED.

     2.   Ms. Pollick’s Motion for Attorney’s Fees has violated Federal Rule of

          Civil Procedure 11. Accordingly, Ms. Pollick will be sanctioned in the

          amount of $25,000.00 for that violation.

     3.   Ms. Pollick’s Motion for Attorney’s Fees has independently violated

          28 U.S.C. § 1927. Accordingly, Ms. Pollick will be sanctioned in the

          amount of $25,000.00 for that violation.

     4.   Because Ms. Pollick’s Rule 11 and § 1927 violations stem from the

          same conduct, the two fines will run CONCURRENTLY.
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5.   Accordingly, Ms. Pollick shall pay $25,000.00 in total to the Clerk of

     Court of the United States District Court for the Middle District of

     Pennsylvania no later than 30 days from the date of this Order.

6.   The Clerk of Court is directed to serve a copy of the Court’s

     Memorandum and Order upon Paul J. Killion, Chief Disciplinary

     Counsel, Office of Chief Counsel, Pennsylvania Judicial Center, 601

     Commonwealth Avenue, Suite 2700, P.O. Box 62485, Harrisburg,

     Pennsylvania 17106, and close this case.




                                      BY THE COURT:



                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      United States District Judge




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